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 7   dba NORTHBAY MEDICAL CENTER and
     VACAVALLEY HOSPITAL
 8

 9                               UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11

12   NorthBay Healthcare Group -- Hospital        Case No. 17-cv-02929-WHO
     Division dba NorthBay Medical Center and
13   VacaValley Hospital,                         DECLARATION OF DARON TOOCH IN
                                                  SUPPORT OF PLAINTIFF NORTHBAY
14                 Plaintiff,                     HEALTHCARE GROUP’S OPPOSITION
                                                  TO BLUE SHIELD’S MOTIONS IN
15          v.                                    LIMINE

16   Blue Shield of California Life & Health      Date:   2019-01-18
     Insurance Company; California Physicians’    Time:   2:00 p.m.
17   Service dba Blue Shield of California; and
     Does 1-50, inclusive                         Trial Date: 2019-02-04
18                                                Judge: Hon. William H. Orrick
                   Defendant.
19

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28                                                               Case No. 17-cv-02929-WHO
          DECLARATION OF DARON TOOCH IN SUPPORT OF PLAINTIFF NORTHBAY HEALTHCARE
                          GROUP’S CONSOLIDATED MOTIONS IN LIMINE
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 1          I, Daron L. Tooch, declare as follows:

 2          1.       I am a partner of the law firm King & Spalding, LLP, counsel of record for

 3 Plaintiff in this case. I am admitted to practice before this Court. I have personal knowledge of

 4   the facts set forth herein, and if called as a witness in this action I could and would testify

 5   competently to them.

 6          2.       On February 21, 2018, Blue Shield served discovery requests seeking evidence of,

 7   inter alia, NorthBay’s profit and loss statements, annual financial statements, and service

 8 specific costs.

 9          3.       In response to these requests, NorthBay agreed to produce, and did produce,

10   evidence of its overall revenues, expenses, profits and losses in the form of its Consolidated

11   Financial Statements for the years 2007-2017.

12          4.       Attached hereto as Exhibit A is a true and correct copy of excerpts from the

13   deposition testimony of Dr. David Schriger.

14          5.       Attached hereto as Exhibit B is a true and correct copy of excerpts from the

15   deposition of Bruce Deal.

16          6.       Attached hereto as Exhibit C is a true and correct copy of an article titled

17   “Hospital & Physician Cost Shift: Payment Level Comparison of Medicare, Medicaid, and

18   Commercial Payers,” which Mr. Deal cites in his report.

19          7.       Attached hereto as Exhibit D is a true and correct copy of excerpts from the

20   deposition of Tracy Barnes.

21          8.       Attached hereto as Exhibit E is a true and correct copy of NorthBay’s Initial

22   Disclosures, dated August 29, 2018.

23          9.       Attached hereto as Exhibit F is the 30(b)(6) Deposition Notice served by Blue

24   Shield, dated June 29, 2018.

25          10.      Attached hereto as Exhibit G is a true and correct copy of NorthBay’s

26   Supplemental Initial Disclosures, dates June 29, 2018.

27          11.      Attached hereto as Exhibit H is a true and correct copy of excerpts from the

28                                                     1         Case No. 17-cv-02929-WHO
          DECLARATION OF DARON TOOCH IN SUPPORT OF PLAINTIFF NORTHBAY HEALTHCARE
                          GROUP’S CONSOLIDATED MOTIONS IN LIMINE
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                   Exhibit A
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   David Schriger, M.D.                        NorthBay Healthcare vs. Blue Shield

·1· · that they need a cath lab, was there anything unusual
·2· · about these patients that made them atypically complex
·3· · or requiring atypically sophisticated services?
·4· · · · · · ·That's what I'm saying.
·5· · · · Q· · Okay.· So if I understood your answer -- and I
·6· · apologize that the question wasn't perfectly phrased --
·7· · but if I understood your answer, your assignment was to
·8· · compare like to like.
·9· · · · · · ·You didn't want to compare NorthBay to the
10· · dodgiest hospital in the world and say, "NorthBay could
11· · have -- NorthBay gave better care than that hospital."
12· · You were comparing NorthBay to any hospital offering
13· · similar services?
14· · · · · · ·MS. SHVARTS:· Objection.· Misstates testimony.
15· · · · · · ·THE WITNESS:· Well, first of all, I wasn't
16· · commenting anything about better care.· I just want to
17· · be clear on that.· I'm not talking -- I was not asked
18· · to comment on quality.· So anything when you start
19· · talking about care, that's not what I concerned myself
20· · with.· I just want to make that clear.
21· · · · · · ·But my understanding of what I was asked to do
22· · was to say imagine the NorthBay, imagine another -- per
23· · NorthBay.· Let's leave VacaValley to the side for a
24· · moment.
25· · · · · · ·Imagine NorthBay, imagine another hospital,


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   David Schriger, M.D.                        NorthBay Healthcare vs. Blue Shield

·1· · another community hospital that offered similar
·2· · services.· So, yes, NorthBay has a cath lab; the
·3· · hospital has a cath lab.· NorthBay has a NICU; a
·4· · hospital that has a NICU.
·5· · · · · · ·Was there anything unusual about this
·6· · particular group of patients, you know, that would be
·7· · atypical from the case mix of patients one would see at
·8· · that type of hospital.
·9· · · · · · ·And, secondly, was there anything unusual
10· · about the care they received that would be markedly
11· · different than the care you would expect them to
12· · receive at another similarly configured hospital.
13· · BY MR. TASSA:
14· · · · Q· · Do you know if any of the other hospitals in
15· · Solano County are similarly -- similarly configured?
16· · · · · · ·MS. SHVARTS:· Objection.· Vague and ambiguous.
17· · · · · · ·THE WITNESS:· I don't know one way or the
18· · other.
19· · BY MR. TASSA:
20· · · · Q· · All right.· Let's go to the spreadsheet.                  I
21· · believe that's Exhibit A of your report.· That's the
22· · first spreadsheet, at least.· Oh, you brought your own.
23· · Perfect.· We're on the same exhibit.
24· · · · · · ·So let's talk about Patient BC, which I
25· · believe is row 3 of the spreadsheet.· This patient got


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                    Exhibit B
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1    or she not attempt to negotiate the highest price that

2    he or she can get from a health plan?

3            MS. BRIGGS:     And he answered that question, and

4    it included a public policy reference.              So regardless of

5    whether or not you're interested in it, that's part of

6    his answer.

7            THE WITNESS:     I think I'd give the same answer.

8    BY MR. TOOCH:

9       Q    From a public policy perspective, should a health

10   plan not try and negotiate the lowest rate possible with

11   a hospital?

12      A    We sort of -- we talked about variations of this

13   question before, but that in general, you know, the

14   dynamic, obviously, is payors would generally prefer to

15   pay less; hospitals would prefer to get more.              There's

16   nothing wrong with that directional point.

17           I think you're asking a slightly different

18   question, as I understand it here, about -- and I would

19   sort of phrase it as are there limits, that would be

20   from a public policy perspective, that are reasonable.

21   And there, I think that there can be real questions

22   about that.

23           So to answer your question about the payor side,

24   in general I think payors should be -- again, from a

25   public policy perspective, payors should pay rates that

                                                                Page 127

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1    are, you know, market rates and allow hospitals to, you

2    know, earn a return to be able to stay in business, a

3    financial return to stay in business.

4            So if they say, you know, I'll pay you 1 cent per

5    patient and you got no choice because I'm the only payor

6    in town, I'm not -- I wouldn't endorse that as a good

7    public policy perspective on negotiating.

8       Q    What rate of return should hospitals get?

9       A    Certainly a competitive rate of return that would

10   allow hospitals to remain in business.                 I mean by and

11   large, in the sense that I don't think every hospital

12   should be able to -- if it's an inefficient hospital, if

13   it's a poor quality hospital, I'm a free market

14   economist.    I think that, you know, in those kinds of

15   situations we're not obligated to keep every hospital in

16   business at all time.

17           But in terms of a competitive market rate out

18   there, I do think it's a good thing to have hospitals

19   available out there, and I think hospitals should make a

20   return that's sufficient, in general, to remain in

21   business.

22      Q    Please answer my question.

23      A    I think I just did.

24      Q    What rate of return do you think is reasonable

25   for a hospital to make?       1 percent?            2 percent?

                                                                      Page 128

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1    are, you know, market rates and allow hospitals to, you

2    know, earn a return to be able to stay in business, a

3    financial return to stay in business.

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5    patient and you got no choice because I'm the only payor

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16   business at all time.

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20   return that's sufficient, in general, to remain in

21   business.

22       Q    Please answer my question.

23       A    I think I just did.

24       Q    What rate of return do you think is reasonable

25   for a hospital to make?       1 percent?            2 percent?

                                                                      Page 128

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1    competition, and market solutions are typically the best

2    for allocating scarce resources.

3        Q     And that's -- and does that apply to hospital

4    contracts with payors?

5        A     It can.   Obviously there's kind of a -- the

6    reason I'm hesitating a little bit is it's -- in the

7    context of this particular case and the reasonable value

8    estimate that I'm providing, while I -- these

9    independently negotiated contracts, I think, are not

10   reflective of the reasonable value framework for this

11   matter.

12             In general, I tend to be someone that, again,

13   believes that largely independent entities negotiating

14   with one another is a good way to allocate scarce

15   resources and to develop solutions.                 So I'm not one that

16   thinks it would be better if government regulated

17   everything on that.      So I think that -- anyway, go

18   ahead.

19       Q     It's your position that 12.2 percent is a

20   reasonable -- of billed charges is a reasonable rate to

21   pay NorthBay for its services.

22       A     I think you're referring back to my blended rate

23   there, which I think is, what, 1.8 times what Medicare

24   pays?     I think I've given the answer to that.              I think

25   it is, subject to this distinction of the kind of -- the

                                                                   Page 135

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1    finder of fact, whether or not the proper view for the

2    finder of fact is a blend across payors, which is that

3    1. -- or the 2.12.      Or, sorry, the 12 percent is

4    equivalent to my 1.8 times Medicare.

5        Q    Would you answer -- sorry.           Didn't mean to cut

6    you off.

7        A    And I've given the other -- the 4 times Medicare

8    or a little more than 4 times Medicare for commercial

9    side of it.     But I do believe that that's -- that both

10   of those are representative of reasonable value,

11   somewhat depending on one's perspective on the proper

12   framework.

13       Q    If the hospital received 12.2 percent of its

14   billed charges as payments from commercial payors, would

15   it be able to stay in business?

16            MS. BRIGGS:    Beyond scope.

17            THE WITNESS:    I haven't been asked to answer that

18   specific question.      I do know that 1.8 times Medicare

19   certainly would cover its operating expenses and more.

20   BY MR. TOOCH:

21       Q    Have you done any analysis to determine whether

22   or not -- if NorthBay received 12.2 percent of its

23   billed charges, whether it could stay in business?

24       A    I think it would be the same answer, which is to

25   say I haven't been asked to do a comprehensive analysis

                                                               Page 136

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1    of their finances.       I do know that -- because I have

2    looked at it, that 1.8 times Medicare is higher than --

3    would more than cover their operating expenses for that

4    business and to earn a return as well.

5        Q    What do you base that on?

6        A    The OSHPD data.

7        Q    Anything else?

8        A    No.     But that's adequate.

9        Q    You just need to look at OSHPD data to determine

10   if a hospital got 12.2 percent of its billed charges, it

11   would stay in business.

12       A    I think I've given -- that's not an accurate

13   recitation of my answer.         My answer to your question was

14   I did look at does 1.8 times Medicare, would that be

15   adequate to cover Blue Shield's reported operating

16   expenses for that equivalent business.               The answer is

17   yes.

18       Q    You mean NorthBay's, not Blue Shield's.

19       A    Yes.     Thank you for correcting me.          Yes.

20       Q    And how do you determine what NorthBay's

21   operating expenses are based upon OSHPD data?

22       A    They have to report it to OSHPD.

23       Q    Okay.     And what is -- do you know what the margin

24   of NorthBay's revenues over expenses are?

25       A    That's a knowable fact.          I don't know it off the

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                    Exhibit C
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HOSPITAL & PHYSICIAN COST SHIFT


   PAYMENT LEVEL COMPARISON                                  OF

         MEDICARE, MEDICAID,                       AND

              COMMERCIAL PAYERS




                                                              Presented by:
                                                     Will Fox, FSA, MAAA
                                               John Pickering, FSA, MAAA

                                                            December 2008




                                                                              BSC018880
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At the request of America’s Health Insurance Plans, the American Hospital Association, the
Blue Cross Blue Shield Association, and Premera Blue Cross, Milliman has prepared this
comparison of hospital and physician payment levels among Medicare, Medicaid and
commercial payers.

We understand that this report will be shared with health plans, hospitals, physicians, employer
groups, legislators, and others to support a constructive dialogue among all stakeholders
regarding the provider payment rates paid by public programs.

SUMMARY OF FINDINGS
Nationwide, attention is increasingly being focused on the provider payment levels of the
Medicare and Medicaid programs relative to those of commercial payers. In many areas,
public programs pay providers significantly lower rates than do commercial health plans.
Nationwide, this discrepancy has widened in recent years, as Medicare and Medicaid hospital
payments have not kept up with costs and Medicare physician payment levels have remained
flat.

The payment rate differential can be thought of as a cost shift from the public programs to
commercial payers. That is, if Medicare and Medicaid paid higher rates, commercial payers
could pay lower rates with healthcare providers still achieving the same overall reimbursement.
As it is, commercial payers subsidize the cost of Medicare and Medicaid, essentially through a
hidden tax. The hidden nature of this subsidy makes it difficult to quantify and debate. With
this study quantifying the cost shift, we hope to further the public discussion.

This report quantifies the cost shift for the most recent time periods with data available, 2006
for hospitals and 2007 for physicians.

We define the cost shift for each payer as the difference between the actual payment and the
payment amount that would have resulted in an equal margin by payer. We estimate the total
annual cost shift in the United States from Medicare and Medicaid to commercial payers is
approximately $88.8 billion. Chart 1 presents our estimates.

                                           Chart 1
                                Medicare & Medicaid Cost Shift
                                          in billions

                           Medicare          Medicaid        Commercial        Total
           Hospital             ($34.8)           ($16.2)         $51.0           $0.0
           Physician            ($14.1)           ($23.7)         $37.8           $0.0
           Total                ($48.9)           ($39.9)         $88.8           $0.0


Chart 1 shows Medicare paid $48.9 billion less and Medicaid paid $39.9 billion less than they
would have if all payers paid equivalent rates. Commercial payers paid $88.8 billion more than
they would have if all payers paid equivalent rates. That is, we calculate the cost shift by
holding total provider reimbursement constant, but redistributing the source of payment.

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The measurement of the cost shift throughout this report includes only the payment level
differences among Medicare, Medicaid and commercial payers. It does not separately value
costs that providers must bear stemming from bad debt and charity care provided to individuals
without insurance coverage.

Chart 2 shows that the estimated cost shift from public to private payers of $88.8 billion is
estimated to be 15% of the current amount spent by commercial payers on hospital and
physician services. Stated differently, if there were no cost shift, commercial hospital and
physician costs would be 15% lower.


                                             Chart 2
                                   Medicare & Medicaid Cost
                            Shift as percent of Commercial Hospital
                                        & Physician Cost




                                                                 85%
                          Cost Shift
                            15%




Charts 3a and 3b show that the cost shift figures more prominently in hospital payments than in
physician payments, at 18% compared to 12%.

                      Chart 3a                                       Chart 3b
         Medicare & Medicaid Cost Shift as              Medicare & Medicaid Cost Shift as
        percent of Commercial Hospital Cost            percent of Commercial Physician Cost




     Cost Shift                                                                     88%
                                    82%
       18%                                         Cost Shift
                                                     12%




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Chart 4 translates the cost shift into extra costs paid by employers and employees through
premium and additional cost sharing amounts (deductibles, copays, and coinsurance). Chart 4
represents the annual cost shift burden borne by a typical family of four in a commercial PPO
plan.

                                                 Chart 4
                             Annual Medicare & Medicaid Cost Shift Burden for
                             Typical Family of Four in a Commercial PPO Plan

                               Total Annual Cost1                         Portion Due to Cost Shift
                                      Cost                                         Cost
                        Premium Sharing          Total                Premium     Sharing      Total
         Employer         $10,481                $10,481                 $1,115                  $1,115
         Subscriber        $3,731      $2,420     $6,151                   $397        $276         $673
         Total            $14,212      $2,420    $16,632                 $1,512        $276      $1,788
         % of Total                                                      10.6%       11.4%       10.7%
         1) Based on the 2007 Milliman Medical Index, with an 85% loss ratio assumed.


We estimate that the cost shift is responsible for 10.7% of total health care spending for the
family, or an additional $1,788 annually. Note that Chart 2 looks at the cost shift as a percent
of only hospital and physician costs, whereas Chart 4 looks at the cost shift as a percent of all
medical spending (prescription drugs and miscellaneous services) as well as health plan
administration costs.

When broken down, we estimate the cost shift adds $1,512 annually, or 10.6%, to the premium
of a family of four. Of this cost shift amount, we estimate employers pay $1,115 and
subscribers $397 annually. The cost shift also increases member cost sharing by approximately
$276 annually.

The percentage of total cost stemming from the cost shift varies between the premium and cost
sharing components of total cost for two reasons. First, commercial premium includes health
plan administration costs as well as health care costs, and the cost shift is measured only on
health care costs. Second, typical benefit plan designs have higher cost sharing on prescription
drugs, and lower cost sharing on hospital and physician services, in proportion to the total cost
of the services. These two effects combine to produce the estimates in Chart 4.

In this report, we have estimated the difference in payment rates among Medicare, Medicaid,
and commercial payers. The existence of the payment differential is established and well-
known throughout the healthcare industry, although quantification of its magnitude has been
lacking. Other studies have reported large payment differentials, mainly for hospitals and to a
lesser extent for physicians. However, this study is the first that we are aware of that
encompasses the payment differential in both hospital and physician costs throughout the
United States.




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HOSPITAL
Our hospital findings are based on analysis of the 2006 American Hospital Association (AHA)
Survey data. The survey includes data on the 4,927 short-term, community hospitals in the
United States. The data represents each hospital’s fiscal year 2006 results.

Please refer to the methodology section for details on the methodology behind the findings
presented in this section.

Chart 5 presents hospital operating margins by payer.

                                                     Chart 5
                                         2006 Hospital Operating Margins
                                                    in billions

                                  (A)           (B)       (C)=A+B          (D)        (E)=C+D      (F)=E/C
                                               Other
                                Patient      Operating     Total      Operating                    Operating
                                Revenue       Revenue     Revenue      Expense         Gain         Margin
       Medicare                    $195.7         $10.0      $205.7       ($225.1)       ($19.4)       -9.4%
       Medicaid                      $67.8         $4.8       $72.6        ($83.3)       ($10.7)      -14.7%
       Commercial                  $276.4         $10.7      $287.1       ($220.6)        $66.5        23.1%
       Subtotal                    $539.9         $25.6      $565.5       ($529.1)        $36.4         6.4%

       Other Gov't & Self Pay       $43.7         $6.7        $50.5         ($63.2)      ($12.7)      -25.1%
       Operating Total             $583.6        $32.3       $616.0        ($592.3)       $23.7         3.8%


Chart 5 shows that hospitals experienced significant losses on Medicare and Medicaid business
in 2006 and significant gains on commercial payers. This study primarily focuses on these
three types of payers, but in order to present the overall operating performance, Chart 5 also
includes Other Government & Self Pay, on which hospitals experienced a significant loss.

Chart 5 shows that while hospitals posted a 3.8% overall operating margin in 2006, it was
composed of a 23.1% margin on commercial payers offsetting large losses on public payers and
self pay.

This discrepancy is of concern not just to commercial payers, but also to hospitals that
primarily serve Medicare and Medicaid populations. These hospitals may not be able to offset
low public payments with higher commercial payments.

The Medicare and Medicaid values in Chart 5 include both the traditional programs and
managed care plans. The Other Government category includes military, workers
compensation, Native American, indigent, and other public programs.

Chart 6 presents hospital operating margins over the last 12 years. It shows the divergence of
operating margins beginning in 2000. In 1999, there was approximately an 11.3 percentage
point gap in operating margin between Medicare and commercial payers, and a 16.0 point gap
between Medicaid and commercial. By 2006, this had widened to a 32.5 percentage point gap
between Medicare and commercial, and 37.8 points between Medicaid and commercial.




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                                                          Chart 6
                                             Hospital Operating Margins by Year

                      30%
                      25%
                      20%
   Operating Margin




                      15%
                      10%                                                                                    Commercial
                       5%                                                                                    Medicare
                       0%                                                                                    Medicaid
                      -5%
                      -10%
                      -15%
                      -20%
                             1995 1996 1997 1998 1999 2000 2001 2002 2003 2004 2005 2006
                                                               Year



Chart 7 translates the operating margin gap in 2006 to the hospital cost shift by payer type. For
the cost shift calculation, we focus only on the three largest payer segments: Medicare,
Medicaid and commercial. If the cost shift were eliminated, hospitals would achieve the same
operating margin from each payer.

                                                           Chart 7
                                          2006 Medicare & Medicaid Hospital Cost Shift
                                                          in billions

                                      (A)            (B)              (C)         (D)=C/A      (E)=A-C          (F)
                                    Actual, with Cost Shift                      Percent of   With Cost Shift Removed
                                     Patient                          Cost         Patient      Patient
                                    Revenue       Margin              Shift       Revenue      Revenue        Margin
                  Medicare             $195.7          -9.4%           ($34.8)      -17.8%        $230.5          6.4%
                  Medicaid               $67.8       -14.7%            ($16.2)      -23.9%          $84.0         6.2%
                  Commercial           $276.4         23.1%             $51.0        18.4%        $225.4          6.6%
                  Total                $539.9           6.4%             $0.0          0.0%       $539.9          6.4%


Chart 7 shows that in 2006, if Medicare, Medicaid and commercial payers had each supplied
revenue in the same proportion to their expense, Medicare would have supplied an additional
$34.8 billion in revenue and Medicaid an additional $16.2 billion in revenue. The commercial
segment would have needed to supply $51.0 billion less in revenue.

Column F in Chart 7 shows margins that vary somewhat by payer. This is due to differences in
the mix of Medicare, Medicaid, and commercial business by hospital. For each hospital, the
margin would be the same among these three payer types with the cost shift removed.



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PHYSICIAN
Our physician findings are based on 2007 fee schedule levels for Medicare, Medicaid, and
commercial payers.

Chart 8 compares physician payment levels.

                                                Chart 8
                                     2007 Physician Payment Levels

                                                                Relative
                                                              Payment Level
                               Medicare                                89%
                               Medicaid                                60%
                               Commercial                             114%
                               Total                                  100%


Chart 8 shows that Medicare payment rates are approximately 89% of the overall average rate
for these three payer types. Medicaid rates are approximately 60% of the overall average, and
commercial rates are approximately 114% of the average. For the same service, then, Medicare
would pay 11% less than average, Medicaid would pay 40% less than average, and commercial
payers would pay 14% more than average. The cost shift is estimated as the difference
between each payer’s actual payment level and the average.

Commercial payment levels vary by payer and further may vary by geographic area, physician
specialty or other factors. Our estimate is intended as an average commercial payment level
across all payers, areas, and services. Similarly, Medicare and Medicaid payment levels vary
by geographic area and other factors. The estimates represent nationwide averages.

Chart 9 quantifies the physician cost shift.

                                                Chart 9
                              2007 Medicare & Medicaid Physician Cost Shift
                                               in billions

                     (A)             (B)            (C)         (D)=C/A       (E)=A-C            (F)
                    Actual, with Cost Shift                                    With Cost Shift Removed
                                  Relative         Cost          % of                          Relative
                  Allowed      Payment Level       Shift        Allowed       Allowed     Payment Level
 Medicare            $111.2              89%        ($14.1)         -13%         $125.3           100%
 Medicaid              35.9              60%        ($23.7)         -66%           59.6           100%
 Commercial           311.0             114%         $37.8           12%          273.2           100%
 Total               $458.2             100%          $0.0            0%         $458.2           100%


Chart 9 shows that the estimated cost shift resulted in Medicare paying $14.1 billion less and
Medicaid paying $23.7 billion less than they otherwise would have. In the absence of the cost
shift, commercial payers would have paid $37.8 billion less.




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The physician results are based purely on payment rate differences between payers, whereas the
hospital results are based on hospital operating margins, which take into account hospital costs
as well as payment rates. The reason for this difference in approach is that reliable information
about physician practice costs at a detailed level was not available.

METHODOLOGY
All values in this report are presented as best estimates. While we present point estimates to
ease interpretation, the reader should realize that, in reality, the values are not precise and
should be thought of as center points of ranges of likely values. Different approaches would
lead to different results.

Hospital
The hospital estimates are based on 2006 AHA Survey data. The data includes values for 4,927
short-term, community hospitals in the United States. The data includes survey responses from
approximately 71% of these hospitals. The data for the remaining 29% were imputed by an
algorithm developed by the AHA. Of the responses, approximately 58% were stated to be
based on audited financial statements.

In performing our analysis, we relied on the AHA survey data. We reviewed the data for
reasonableness and compared it to other available data points. However, we have not audited
the data. If the underlying data is inaccurate or incomplete, the results of our analysis may
likewise be inaccurate or incomplete.

We excluded results for 310 hospitals with unusable survey data. We adjusted our subsequent
results (based on the remaining hospitals) upward to account for the exclusion of these
hospitals.

The commercial category in this report includes the survey categories “third-party payers” and
“other non-government” payers. The majority of this category is commercial PPO, HMO, and
other types of health plans.

We applied the following methodology to calculate the financial values in this report:

   x   Net Patient Revenue: Net patient revenue is reported in the survey by payer. Net patient
       revenue is gross of bad debt (which is treated as an expense) but net of charity care
       (which is treated as a deduction from revenue). Net patient revenue includes
       disproportionate share payments.
   x   Other Operating Revenue: Other operating revenue is reported in total in the survey
       data. We allocated it by payer in proportion to billed charges. We include tax
       appropriations in this category. We allocated tax appropriations primarily to the self-
       pay line of business.




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   x   Operating Expense: Operating expense is reported in total in the survey data. We
       allocated operating expense, net of bad debt, by payer in proportion to billed charges.
       We used a single hospital specific cost-to-charge ratio to allocate expenses. If actual
       hospital charges represented a consistent percentage mark-up over costs for all services,
       the use of a single cost-to-charge factor by hospital would accurately allocate expenses.
       In reality, hospital mark-ups vary by type of service, and payer service mixes vary.
       However, payer specific billed charges by service type are not available. We think the
       use of the single cost-to-charge ratio by hospital is a reasonable substitute, and allocates
       expenses reasonably well.

       We separately allocated bad debt, since the self-pay line of business experiences much
       higher bad debt than do other lines. We allocated bad debt as a percentage of net
       patient revenue by payer, with the self-pay target percentage much higher than the
       target percentage for the other payers.

Physician
In order to estimate the physician cost shift, we needed to estimate both the payment level
differences for physician services among Medicare, Medicaid, and commercial payers, as well
as the overall magnitude of payments from each payer.

To estimate the first component, the relative reimbursement levels, we estimated both the
Medicaid fee schedules and typical commercial fee schedules as a percent of Medicare. For
Medicaid, we gathered the fee schedule from each state that was in effect as of July 1, 2007. In
some instances, the July 1, 2007 fee schedule was not available, in which case we used the
available fee schedule closest to July 1, 2007. We were able to gather the Medicaid fee
schedules for all states except Tennessee.

We based our comparison on approximately 100 high volume procedure codes, based on a
Medicaid utilization distribution, which account for approximately 55% of total medical
charges. For each procedure code, we assigned the Medicaid and Medicare allowable fees, and
summarized results weighted on a Medicaid utilization distribution, expressing results as the
Medicaid fee divided by the Medicare fee. The Medicare fees assigned take into account
Medicare GPCI area adjustments, as well as the Medicare site-of-service adjustment.

To estimate typical commercial physician fee levels relative to Medicare, we relied on three
proprietary databases which contain commercial physician claims, nationwide. Physician fee
levels vary among commercial payers. Our values are intended to reflect an average
reimbursement level in 2007, across all professional services and across all commercial payers.
Our databases enabled us to develop estimates of physician fee levels at the three digit zip code
level.

Similar to the Medicaid approach, we based our comparison on a sample of approximately 150
high volume procedure codes, based on a commercial utilization distribution, which account for
approximately 67% of total RBRVS RVUs. By three-digit zip code, we assigned the
commercial allowed fee, as well as the Medicare allowed fee. We rolled these up to the state
level based on commercial membership by zip code. We report results as the ratio of the
commercial fee to the Medicare fee.

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The second component required to estimate the cost shift is the overall magnitude of physician
payments by payer. We used information from CMS’ State Health Care Expenditure Data in
order to estimate professional payments by Medicare, Medicaid and commercial payers.

Premium and Cost Sharing Impact
Chart 4 presents estimates of the magnitude of the Medicare and Medicaid cost shift in relation
to premium and cost sharing amounts for a typical commercial PPO plan for a family of four.
The underlying premium and cost sharing estimates are based on the 2007 Milliman Medical
Index. The Milliman Medical Index examines the total cost to deliver healthcare and how the
cost is allocated between the employer and the employee. To the underlying medical cost, we
added 15% administration costs in order to estimate the typical premium level.

The Milliman Medical Index provides estimates of the premium split between employer and
employee, as well as cost sharing amounts by type of service (hospital, physician, prescription
drugs, and other). These distributions were used to estimate the impact of the cost shift
separately on premium and on cost sharing amounts. The premium and cost sharing estimates
in this report represent nationwide averages. Healthcare costs and premiums vary by
geographic area.

CAVEATS AND LIMITATIONS
Milliman is an independent consulting firm that was engaged by AHIP, AHA, BCBSA, and
Premera Blue Cross to develop a best estimate of the cost shift in United States. Using the
methodology presented in this report, we have objectively estimated the cost shift.

Milliman makes no representations or warranties regarding the contents of this report to third
parties. Likewise, third parties are instructed that they are to place no reliance upon this report
that would result in the creation of any duty or liability under any theory of law by Milliman or
its employees to third parties. The estimates included in this report cannot and do not consider
every variation from the key assumptions and the effect of variations on the results.




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   Tracy Barnes                                NorthBay Healthcare vs. Blue Shield

·1· outpatient; if -- you know, comparing it, how it might
·2· be impacted, PPO versus HMO, if we see differentials,
·3· because sometimes there's different rate differentials
·4· for different products.· So they'll take that data,
·5· those rate inputs, and sort of create a view of how Blue
·6· Shield sees that contract in light of our business.
·7· · · ·Q· · When you say "how Blue Shield sees that
·8· contract" --
·9· · · ·A· · Uh-huh.
10· · · ·Q· · -- do you mean from a financial expensive?
11· · · ·A· · Correct.
12· · · ·Q· · So, how much the contract is worth or is going
13· to cost Blue Shield?
14· · · ·A· · Well, I guess, "worth" is -- they'll --
15· they'll have some baseline data, previous experience,
16· and then they apply that to the future to say, Okay, if
17· we have that same experience at these new rates, what
18· does that do to our costs?
19· · · ·Q· · And that data helps you, as a contract
20· manager, negotiate the contract?
21· · · ·A· · Correct.
22· · · ·Q· · You mentioned baseline data.· What did you
23· mean by that?
24· · · ·A· · Well, at some point, if you're going to
25· model -- you -- you need some experience.· So you've got


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                                www.aptusCR.com                                     YVer1f
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   Tracy Barnes                                NorthBay Healthcare vs. Blue Shield

·1· · · · · · evidence regarding the Blue Shield contract
·2· · · · · · and rates formally paid thereunder, which Blue
·3· · · · · · Shield does not consider relevant to issues in
·4· · · · · · this litigation."
·5· · · · · · Do you have an understanding what the
·6· paragraph I just read means?
·7· · · · · · MS. BRIGGS:· Outside of anything you may have
·8· discussed with counsel.
·9· · · · · · THE WITNESS:· I'm not a lawyer.· All I know is
10· that there's a possibility I'd be a rebuttal witness.
11· BY MR. TASSA:
12· · · ·Q· · Okay.· Let's go back to the first sentence.
13· It says:
14· · · · · · · · "Mr. Barnes may provide testimony
15· · · · · · regarding the terminated contractual agreement
16· · · · · · between Blue Shield and Plaintiff NorthBay
17· · · · · · Healthcare Group . . . ."
18· · · · · · Do you intend to give any other testimony
19· beyond the topic I just read in that one sentence?
20· · · · · · MS. BRIGGS:· I'm going to instruct the witness
21· not to answer.
22· · · · · · MR. TASSA:· The basis for that instruction?
23· · · · · · MS. BRIGGS:· It's -- he's not -- first of all,
24· it would be revealing attorney-client privileged
25· communications to the extent there have been


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     Tracy Barnes                                 NorthBay Healthcare vs. Blue Shield

·1· communications regarding additional testimony.
·2· · · · · · Secondly, as the witness, he has no idea what
·3· he's going to be giving in terms of testimony beyond
·4· what has been designated here.· You're asking a lay
·5· person what they're going to testify to at trial.
·6· That's highly improper.
·7· BY MR. TASSA:
·8· · · ·Q· · Other than the terminated contractual
·9· agreement between Blue Shield and NorthBay, will you be
10· providing testimony on any other topics?
11· · · · · · MS. BRIGGS:· I'm going to instruct the witness
12· not to answer on the same grounds.
13· · · · · · MR. TASSA:· No further questions.
14· · · · · · THE REPORTER:· Ms. Briggs, you'd like a copy
15· of the transcript, yes?
16· · · · · · MS. BRIGGS:· Yes, please.
17· · · · · · MR. TASSA:· Do you have any redirect?
18· · · · · · MS. BRIGGS:· No.
19· · · · · · THE REPORTER:· Any roughs?
20· · · · · · MR. TASSA:· Oh, yes, please.
21· · · · · · MS. BRIGGS:· Yes, a rough, please.
22· · · · · ·(The deposition concluded at 1:31 p.m.)
23· · · · · · · · · · · · · ·--oOo--
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                    Exhibit G
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                        Telephone: (310) 551-8111
                      5 Facsimile: (310) 551-8181

                       6
                         Attorneys for Plaintiff NORTHBAY
                       7 HEALTHCARE GROUP - HOSPITAL
                         DIVISION dba NORTHBAY MEDICAL
                       8 CENTER AND VACAVALLEY HOSPITAL

                       9

                      10                          UNITED STATES DISTRICT COURT

u                     11        NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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                      13 NORTHBAY HEALTHCARE GROUP -               Case No. 3:17-CV-02929-WHO
 2M W< O                 HOSPITAL DIVISION dba NORTHBAY
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                      14 MEDICAL CENTER AND VACAVALLEY             NORTHBAY HEALTHCARE GROUP
 >< < < —                HOSPITAL,                                 DBA NORTHBAY MEDICAL CENTER
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          w -I
                      15                                           AND VACAVALLEY HOSPITAL’S
 J          -
          W in                        Plaintiff,                   FIRST SUPPLEMENTAL INITIAL
          O S'
                      16                                           DISCLOSURES
 S? 5C            •           vs.
 o                    17                                           The Hon. William H. Orrick
 td
                         BLUE SHIELD OF CALIFORNIA LIFE &
                      18 HEALTH INSURANCE COMPANY;                 Trial Date:         December 3, 2018
                         CALIFORNIA PHYSICIANS’ SERVICE dba
                      19 BLUE SHIELD OF CALIFORNIA; and
                         DOES 1-50, inclusive.
                      20
                                     Defendant.
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                                                                                            3:17-CV-02929-WHO
                              NORTHBAY HEALTHCARE GROUP DBA NORTHBAY MEDICAL CENTER AND VACAVALLEY
5646588.1                                 HOSPITAL’S FIRST SUPPLEMENTAL INITIAL DISCLOSURES
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                   1

                   2          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, Plaintiff NorthBay

                   3   Medical Group dba NorthBay Medical Center and VacaValley Hospital (“NorthBay”) hereby

                   4   provide these first supplemental Rule 26(a) disclosures (“First Supplemental Disclosures”), These

                   5   First Supplemental Disclosures are made on the basis of information reasonably available to

                   6 NorthBay at this time, recognizing that discovery has not yet been completed in this matter and

                   7   that NorthBay has not yet completed their investigation of this matter. Facts and information

                   8 discovered during investigation and discovery may reveal other information, add new facts,

                   9 documents or witnesses, or lend new meaning to facts already Icnown. NorthBay therefore makes
                  10 the following disclosures reserving all rights to amend, supplement, or modify the disclosures as

u                 11   its investigation and discovery proceed.
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z     CN
    W t-- in      12 I.       WITNESSES

gsii              13          A.      Amy Ziegler, Director of Advanced Nursing Practice. Ms. Ziegler may provide
Sail              14 testimony relating to NorthBay’s chest pain center, NorthBay’s cardiovascular programs, and
       H-1
>* < < -
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a
       w =?
       w   —      15 other aspects of NorthBay’s practice areas and nursing practice.
a      H-l
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      b           16          B.      Beth Gladney, Stroke Program Manager. Ms. Gladney may provide testimony
       C/O   ..


                  17 relating to NorthBay’s stroke and neuroscience programs.
                  18          C.      Joan Forbush, Director of Clinical Support Services. Ms. Forbush may provide

                  19 testimony relating to NorthBay’s neurology and neurosurgery programs, as well as other aspects

                  20   of NorthBay’s neuroscience programs.

                  21          D.      Heather Venezio, Trauma Program Director. Ms. Venezio may provide testimony

                  22   relating to NorthBay’s trauma program.

                  23          E.      Katie Lydon, Director of Women’s and Children’s Services. Ms. Lydon may

                  24   provide testimony relating to NorthBay’s women’s and children’s services, including NorthBay’s

                  25   NICU services. Ms. Lydon may also testify about other of NorthBay’s practice areas, including

                  26 NorthBay’s cardiovascular unit.

                  27          F.      Edie Zusman, Chief of Neurosurgery and Medical Director, NorthBay Center for

                  28 Neuroscience. Dr. Zusman may provide testimony relating to NorthBay’s neurosurgery and
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                 1 neuroscience practices.

                 2           G.      Courtney Chambers, General Surgery. Dr. Chambers may provide testimony

                 3    relating to NorthBay’s surgical practice.

                 4           H.      Jonathan Lopez, Oncology/Hematology. Dr. Lopez may provide testimony relating

                 5    to NorthBay’s oncology and hematology practices.

                 6           1.      Keni Horiuchi, Oncology/Hematology. Ms. Horiuchi may provide testimony

                  7   relating to NorthBay’s oncology and hematology practices.

                  8          J.      Louise Henry, Oncology/Hematology. Ms. Henry may provide testimony relating

                  9 to NorthBay’s oncology and hematology practices.

                 10           K.     Kim Williamson, Director of Cardiac Services. Ms. Williamson may provide

u                11 testimony relating to NorthBay’s cardiology services, including NorthBay’s cardiac cath lab,
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     DJ   IT)    12   cardiology, cardiopulmonary rehabilitation, chest pain, and other cardiac services.
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                 13           Each of the witnesses listed above may be contacted through NorthBay’s counsel.
CQ
=3               14 II.       RESERVATION OF RIGHTS
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zb               15           NorthBay reserves its right to further supplemental its Rule 26 disclosures as needed if
J C- at
of               16   additional relevant information becomes available, as well as its right to amend its disclosures to
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Pm VZl      ..

8^2^             17 correct any inadvertent errors.
a
                 18           NorthBay also reserves the right to call on the witnesses disclosed by Defendants in their

                 19 own initial disclosures or any amendments or supplements thereto.

                 20
                      Dated: June 28, 2018                        HOOPER, LUNDY & BOOKMAN, P.C.
                 21

                 22
                                                                  By:          /s/ David Tassa
                 23
                                                                                    DAVID J. TASSA
                 24                                               Attorneys for Plaintiff NORTHBAY HEALTHCARE
                                                                  GROUP - HOSPITAL DIVISION dba NORTHBAY
                 25                                               MEDICAL CENTER AND VACAVALLEY
                                                                  HOSPITAL
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               1                                         PROOF OF SERVICE

               2    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

               3        At the time of service, I was over 18 years of age and not a party to this action. I am
                 employed in the County of Los Angeles, State of California. My business address is 1875 Century
               4 Park East, Suite 1600, Los Angeles, CA 90067-2517.

               5         On June 29, 2018,1 served true copies of the following document(s) described as
                 NORTHS AY HEALTHCARE GROUP DBA NORTHS AY MEDICAL CENTER AND
               6 VACAVALLEY HOSPITAL’S FIRST SUPPLEMENTAL INITIAL DISCLOSURES on the
                 interested parties in this action as follows:
               7
                                                   SEE ATTACHED SERVICE LIST
                8
                            BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                9   persons at the addresses listed in the Service List and placed the envelope for collection and
                    mailing, following our ordinary business practices. 1 am readily familiar with Hooper, Lundy &
               10   Boolonan, P.C.'s practice for collecting and processing correspondence for mailing. On the same
                    day that correspondence is placed for collection and mailing, it is deposited in the ordinary course
u              11   of business with the United States Postal Service, in a sealed envelope with postage fully prepaid.
Oh 8 t: 2
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                    I am a resident or employed in the county where the mailing occurred. The envelope was placed
               12   in the mail at Los Angeles, California.
      si &     13        BY E-MATT OR ELECTRONIC TRANSMISSION: I caused a copy of the
                  document(s) to be sent from e-mail address dtassa@health-law.com to the persons at the e-mail
§111
 ^&7           14 addresses listed in the Service List. 1 did not receive, within a reasonable time after the
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                  transmission, any electronic message or other indication that the transmission was unsuccessful.
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                         1 declare under penalty of perjury under the laws of the United States of America that the
     O o
05 w “         16 foregoing is true and correct and that I am employed in the office of a member of the bar of this
w o ro
Oh      .         Court at whose direction the service was made.
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a                           Executed on June 29, 2018, at Los Angeles, California,
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               20                                                     Anne T. Kurlcd

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                1                                 SERVICE LIST
                           BorthBay Healthcare Group - Hospital Division vs. Blue Shield
                2                of California Life & Healthlnsurance Company
                                               3:17-CV-02929-WHO
                3
                  Gregory N. Pimstone, Esq.                 Defendant BLUE SHIELD OF
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                  11355 West Olympic Blvd.                  INSURANCE COMPANY
                5 Los Angeles, CA 90064-1614
                  Telephone: (310) 312-4000
                6 Facsimile: (310) 312-4224
                  E-Mail: enimstonelSimanatt.com
                7
                   Amy Briggs, Esq.                         Defendant BLUE SHIELD OF
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                 9 San Francisco, CA 94111
                   Telephone: (415)291-7400
                10 Facsimile: (415) 291-7474
                   E-Mail: abrisasfSmanatt.com
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                    Exhibit H
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03:27:46   1              (Whereupon, Exhibit 25 was marked for
03:27:46   2              identification.)
03:28:00   3              THE WITNESS:     Actually, there's some
03:28:01   4   duplication.       I apologize.    Looks like.
03:28:07   5              No, maybe not.      Sorry.    My error.
03:28:33   6              Okay.
03:28:39   7   BY MR. MAURER:
03:28:39   8         Q.   And if you see something missing, just
03:28:41   9   chime in.
03:28:47 10               All right.     So let's deal with Exhibit A
03:28:50 11    first within Exhibit 25.        So when was the last time
03:29:05 12    you looked at this -- these documents?
03:29:08 13          A.   When I discussed with the lawyer with the
03:29:10 14    accent.
03:29:10 15          Q.   Okay.    So that was the very first meeting
03:29:12 16    you had with your lawyers?         Well, strike that.
03:29:17 17               The first meeting you had in preparation
03:29:18 18    for this deposition that you talked about?
03:29:19 19          A.   Yes.
03:29:20 20          Q.   Okay.    And since that meeting, you haven't
03:29:24 21    looked at this sheet until now?
03:29:25 22          A.   No.
03:29:26 23          Q.   Apart from giving it to someone to produce
03:29:28 24    today?
03:29:28 25          A.   No.


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03:29:28   1         Q.   Okay.    And between the meeting -- I may
03:29:35   2   have asked you this, but I'm just making sure.
03:29:36   3              Between the meeting that you had with the
03:29:38   4   guy with the accent and today, you haven't looked at
03:29:41   5   any of the medical records with respect to these --
03:29:43   6         A.   No.
03:29:44   7         Q.   -- patients?
03:29:44   8         A.   No.
03:29:45   9         Q.   Okay.    Do you know what the difference
03:29:54 10    between Exhibit A and Exhibit B is?
03:29:59 11          A.   I believe it was two different reviewers.
03:30:06 12          Q.   What does that mean?
03:30:08 13          A.   There was two different people looking at
03:30:11 14    charts -- a sampling of charts.
03:30:13 15          Q.   Okay.    And who were the people looking at
03:30:15 16    the sampling of charts do you think?
03:30:17 17          A.   I don't remember their names.
03:30:19 18          Q.   Okay.    Do you have any understanding
03:30:24 19    whether sort of one set of patients was chosen by
03:30:27 20    Blue Shield and one set of patients was chosen by
03:30:30 21    NorthBay?
03:30:30 22          A.   I have no idea.
03:30:32 23          Q.   No idea.
03:30:32 24               That doesn't ring a bell?
03:30:34 25          A.   No.


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03:30:34   1         Q.   Okay.    So when you were testifying about
03:30:41   2   these cases previously, you mentioned that there
03:30:44   3   were some cases that you agreed with and -- where
03:30:48   4   you agreed with Dr. Schriger, or at least the
03:30:51   5   comments that were made here, and some cases where
03:30:53   6   you disagreed; is that right?
03:30:54   7         A.   Yes.    Yes.
03:30:55   8         Q.   So why don't we go through Exhibit A, and
03:30:58   9   can you tell me which cases you agreed with and
03:31:01 10    which ones you disagreed with based on your notes.
03:31:04 11          A.   Yes, sir.
03:31:04 12          Q.   Okay.    And I just -- as I understand it,
03:31:07 13    I'll describe it a little bit, but there is a row --
03:31:13 14    there's row A in this exhibit that is a column for
03:31:18 15    the name of the patient which is just initials, and
03:31:20 16    so, for example, I think the -- on page 1 of this
03:31:24 17    exhibit, there's a B.C. there, but I think you have
03:31:26 18    to carry over patient B.C. to the next page to get
03:31:30 19    what the final conclusion is.         Does that make sense?
03:31:33 20          A.   Yes.
03:31:33 21          Q.   Okay.    I just want to make sure we're on
03:31:34 22    the same page.      So we're going to look at patient
03:31:37 23    B.C. first.
03:31:38 24               And again, if you could look at the -- you
03:31:40 25    know, that information and tell me if you agreed


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03:31:44   1   with Dr. Schriger or disagreed, that would be
03:31:46   2   helpful.
03:31:48   3         A.   Patient B.C., I put that the MRI is not
03:31:52   4   common at a community hospital, that this -- that
03:31:55   5   the Level II requires it 24/7.          So that would be a
03:31:59   6   disagreement with the reviewer.
03:32:04   7         Q.   Okay.    And you circled -- did you circle --
03:32:07   8   in row L, you circled -- is it CT and MRI or was
03:32:12   9   that both?
03:32:13 10          A.   No, just MRI.
03:32:14 11          Q.   Just the MRI was the bigger circle.
03:32:17 12               So in the analysis section on Exhibit A for
03:32:20 13    patient B.C., Dr. Schriger says, "Nothing unusual
03:32:25 14    about this case.      It is a classic presentation of a
03:32:28 15    relatively uncommon condition."
03:32:30 16               Do you agree with those statements by
03:32:32 17    Dr. Schriger?
03:32:35 18          A.   I agree with his end statement, but the
03:32:39 19    reason he can make that statement is because the
03:32:41 20    patient got the MRI expeditiously.
03:32:50 21          Q.   And then there's a comment here that says,
03:32:52 22    "Interesting that after all the imaging the LP was
03:32:55 23    deferred since it could have been diagnostic and
03:32:57 24    therapeutic."
03:32:59 25               Do you have -- what's your -- do you agree


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03:33:01   1   or disagree with that statement?
03:33:03   2          A.   I'm not qualified to make that judgment.
03:33:13   3          Q.   So it's your opinion or view, however you
03:33:15   4   want to call it, that this wasn't a service that
03:33:21   5   could have been provided at a nontrauma center?
03:33:27   6               MR. TASSA:    Objection.     That's not
03:33:29   7   Dr. Schriger's opinion.
03:33:30   8               MR. MAURER:    Okay.
03:33:31   9               MR. TASSA:    But....
03:33:32 10                THE WITNESS:    My opinion is that the
03:33:36 11    conclusion about this uncommon condition could not
03:33:41 12    have been come to as quickly as it did -- you'll see
03:33:47 13    admission date was 3/24, discharge was 3/24 --
03:33:52 14    without the MRI having been completed, which is as a
03:33:55 15    result of having it in place because of the trauma.
03:33:57 16    BY MR. MAURER:
03:33:59 17           Q.   Okay.   So in your view, unless you have an
03:34:03 18    MRI, the patient wouldn't -- you wouldn't -- the --
03:34:07 19    this conclusion couldn't have been made as quickly?
03:34:13 20           A.   I don't know that.      What I'm saying is it
03:34:14 21    got -- it reached so quickly because they did the
03:34:17 22    MRI.   I'm not asserting the negative; I'm only
03:34:20 23    asserting the positive.
03:34:25 24           Q.   Okay.   So you disagree with Dr. Schriger on
03:34:32 25    patient B.C.


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03:34:33   1               What about patient A.G.?
03:34:40   2         A.    A.G., I do not agree with him.
03:34:46   3         Q.    And why not?
03:34:48   4         A.    His statement that this is a very common
03:34:51   5   case and was a very typical version of that common
03:34:54   6   case.      That I do not find that laceration --
03:35:02   7   laceration repairs are common to emergency
03:35:06   8   departments.      But laceration repairs of psychiatric
03:35:10   9   patients are not common and are far -- a little bit
03:35:14 10    more complicated than a simple laceration repair.
03:35:19 11          Q.    Okay.    So is it your opinion that, for
03:35:23 12    example, patient A.G. couldn't have received care,
03:35:28 13    for example, at Sutter Solano or Kaiser Vallejo?
03:35:32 14          A.    I don't know.     I do know that the care was
03:35:35 15    not common and typical for a laceration repair.             For
03:35:40 16    a psychiatric patient, we assign -- and that's what
03:35:44 17    you see my note here.        The symbol is psych,
03:35:47 18    psychiatric.        One-to-one.   We had to provide
03:35:51 19    one-to-one safety attendant.         That's the "attendant"
03:35:55 20    you see here.       24/7.   So it does cause an extra
03:36:00 21    burden to our emergency department to provide this
03:36:04 22    care.
03:36:05 23          Q.    And do other -- do you know if, like,
03:36:08 24    Kaiser Vallejo, Sutter Solano, do they have safety
03:36:11 25    attendants that they could use in similar


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03:36:13   1   circumstances, if you know?
03:36:14   2         A.   I don't know how they do psychiatric care
03:36:18   3   for their ER patients.        I just know what we provide
03:36:22   4   in our emergency department.
03:36:25   5              And to say that it was common did not ring
03:36:28   6   true for me.
03:36:28   7         Q.   Okay.    So your disagreement is with his use
03:36:32   8   of the word "common" because there was a psychiatric
03:36:34   9   element to this case?
03:36:34 10          A.   Correct.    And the patient clearly stayed at
03:36:41 11    least a day.     I don't know if it was 24 hours or
03:36:44 12    less than that, but it was an extended course of
03:36:46 13    care for a common laceration.
03:36:50 14          Q.   So anything else that you think made this
03:36:52 15    case uncommon?
03:36:53 16          A.   No, sir.
03:36:56 17          Q.   So let's look at patient T.P.          Can you tell
03:36:59 18    me whether or not you agree with Dr. Schriger's
03:37:01 19    analysis.
03:37:01 20          A.   I agree.
03:37:02 21          Q.   Okay.    Let's go to patient B.E.        Do you
03:37:10 22    agree with Dr. Schriger's analysis there?
03:37:12 23          A.   No.
03:37:22 24          Q.   Why do you disagree?
03:37:25 25          A.   He put in here that they were surprised


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03:37:29   1   that they discharged the patient so soon given that
03:37:32   2   he had a positive troponin and a BNP.           "Nothing
03:37:37   3   difficult or unusual about this case."
03:37:40   4              I appreciate that he describes us as being
03:37:43   5   efficient, but the efficiency is a result of us
03:37:45   6   being a STEMI center and putting processes into
03:37:49   7   place so that we can efficiently discharge these
03:37:54   8   patients.    I have an extra tech assigned just to do
03:37:57   9   code rule-outs.      And the cath lab was able to get
03:37:59 10    the patient in, and it required a cath lab visit.
03:38:05 11    Previously we would have had to transfer that
03:38:06 12    patient.    That's what "transfer" note is here.
03:38:09 13               But it's only as a result of us being a
03:38:11 14    STEMI center with cath lab.         If this patient had
03:38:14 15    been at any other facility, they would have had to
03:38:16 16    go out to a cath lab to get this evaluated, because
03:38:20 17    the patient had a cardiac cath lab visit.             I
03:38:24 18    believe.    I can't speak to that a hundred percent.
03:38:26 19    But based on what my notes are here -- or it's that
03:38:29 20    we have a cath lab and -- for a STEMI center and
03:38:33 21    that allows us to have efficient care.
03:38:35 22          Q.    Okay.
03:38:36 23          A.   I don't know that this efficient care would
03:38:37 24    have been so efficient at another facility without
03:38:41 25    these internal processes and performance improvement


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03:38:45   1   in place.
03:38:45   2         Q.   Do you know if Queen of the Valley Medical
03:38:47   3   Center is a STEMI Receiving Center designation?
03:38:50   4         A.   Remember we talked about this.          I am not a
03:38:52   5   hundred percent sure, but I would make the
03:38:53   6   assumption that they are
03:38:55   7         Q.   Do they have cardiac cath labs there?
03:38:59   8         A.   I would assume that they do.
03:39:01   9         Q.   So do you think the QVMC emergency
03:39:05 10    department/trauma center could have handled a case
03:39:08 11    like this?
03:39:08 12          A.   Yes.    But not Sutter Solano.
03:39:10 13          Q.   Okay.
03:39:11 14          A.   Or Kaiser Vacaville.
03:39:12 15          Q.   And -- because Kaiser Vacaville is not a
03:39:14 16    STEMI Receiving Center?
03:39:15 17          A.   Correct.
03:39:15 18          Q.   Okay.    But if a facility has the capability
03:39:21 19    of a STEMI Receiving Center designation and a
03:39:24 20    cardiac cath lab, then you would assume they could
03:39:27 21    provide similar care to this patient?
03:39:28 22          A.   Yeah, if they were doing -- if they were a
03:39:30 23    chest pain center accredited facility.            Because we
03:39:33 24    have a standard of care that's met by being a chest
03:39:35 25    pain center accredited facility.


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03:39:37   1         Q.   Okay.    Anything else you disagree with with
03:39:40   2   respect to Dr. Schriger on patient B.E.?
03:39:43   3         A.   No.
03:39:44   4         Q.   Let's talk about patient P.H.          Do you have
03:39:46   5   any disagreements with Dr. Schriger regarding
03:39:49   6   patient P.H.?
03:39:50   7         A.   No.
03:39:51   8         Q.   How about disagreements with Dr. Schriger
03:39:53   9   with respect to patient J.P.?
03:39:55 10          A.   No.
03:40:05 11          Q.   Do you have any disagreements with
03:40:07 12    Dr. Schriber (verbatim) with re- -- Schriger with
03:40:11 13    respect to patient T.P.?
03:40:12 14          A.   No.
03:40:13 15          Q.   Do you have any disagreements with
03:40:15 16    Dr. Schriger with respect to patient R.C.?
03:40:17 17          A.   No.
03:40:17 18          Q.   Do you have any disagreements with
03:40:19 19    Dr. Schriger with respect to patient J.K.?
03:40:21 20          A.   No.
03:40:27 21          Q.   Do you have any disagreements with
03:40:29 22    Dr. Schriger with respect to patient T.B.?
03:40:31 23          A.   Yes.
03:40:32 24          Q.   And what's your -- what do you disagree
03:40:34 25    with Dr. Schriger on?


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03:40:35   1         A.   This was a trauma patient.         Let me look at
03:40:39   2   it just for a second.
03:41:08   3              Okay.    So this was a limited activation,
03:41:10   4   and it requires one-to-one nursing care until the
03:41:12   5   patient is deemed to be stable.          So although
03:41:17   6   retrospectively he is looking at this as a minor
03:41:20   7   case that could have been managed as an outpatient,
03:41:23   8   this patient met criteria based on his motorcycle
03:41:27   9   crash, which is a county criteria and a CDC criteria
03:41:29 10    for a hospital.      They appropriately activated it.
03:41:33 11               Our limited activations require the ED
03:41:38 12    physician, RT lab, and radiology.          It does require a
03:41:42 13    call to the trauma surgeon, and you'll see that
03:41:45 14    "Fulton" here.      And I cut off the time.        I'm sorry.
03:41:47 15    It was 12:0-something.        Noon-ish.    And then
03:41:53 16    Dr. Fulton did see the patient at 12:51 and did his
03:41:57 17    orders.
03:42:00 18               And the patient -- we have a policy that on
03:42:03 19    the limited activations, when the emergency
03:42:07 20    department physician calls a trauma surgeon for an
03:42:10 21    admission, that they are to respond within one hour
03:42:12 22    if it's an admission to the medical surgical units.
03:42:15 23    And so he clearly met that criteria there by being
03:42:19 24    there at 12:51.
03:42:22 25               The patient -- he said the patient could


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03:42:23   1   have been managed as an outpatient.           However, the
03:42:27   2   trauma surgeon felt like the patient needed a
03:42:30   3   minimum of 24 -- well, a 24-hour stay to do his
03:42:34   4   tertiary survey to make sure that the patient didn't
03:42:37   5   have any occult injuries.          So although he says this
03:42:41   6   could be managed as an outpatient, I think if the
03:42:44   7   patient had not been in a motorcycle crash and been
03:42:47   8   activated, perhaps he's correct.          But due to the
03:42:49   9   activation and the physician's judgment that the
03:42:51 10    patient may need an additional evaluation, that I
03:42:55 11    disagreed with that.
03:42:56 12          Q.   Okay.
03:42:57 13               And sorry, real quick on the analysis
03:43:03 14    section of patient T.B., there's a note that says --
03:43:07 15    I think it's a time note -- "0708 called B.S."
03:43:12 16               What does that refer to?
03:43:14 17          A.   Called Blue Shield.
03:43:15 18          Q.   Oh.     Okay.   And what's that a reference to,
03:43:18 19    other than --
03:43:19 20          A.   That's the notification piece that I was
03:43:20 21    referring to early -- you know, us doing some audits
03:43:24 22    of our staff about whether that -- so I'm finding
03:43:26 23    that, was there a note in the electronic medical
03:43:30 24    record.    It does not reflect whether or not a call
03:43:32 25    was made, because I haven't checked with the


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03:43:34   1   transfer center on these, but are my techs actually
03:43:37   2   documenting that they're calling the transfer center
03:43:39   3   for that notification.        So it was just a note to
03:43:42   4   myself about, hey, since I'm looking in there, can I
03:43:44   5   check on my staff.       So....
03:43:46   6         Q.   Okay.    So that's the only reason you were
03:43:49   7   noting the Blue Shield aspect of it was to check on
03:43:51   8   your own staff?
03:43:53   9         A.   Yes.    And to also -- you know, if they --
03:43:57 10    if they didn't want the patient -- if Blue Shield
03:43:59 11    did not want the patient to stay, they could have
03:44:01 12    requested for the patient to go to Sutter Roseville,
03:44:03 13    which is their trauma center, and our trauma surgeon
03:44:07 14    could have consented to that.
03:44:12 15          Q.   Okay.    And then back to the -- to the
03:44:18 16    analysis and the care at issue here.           I just want to
03:44:21 17    make sure I'm understanding what you're saying.
03:44:23 18               So the issue here is, in your mind, at
03:44:25 19    least one of the issues, is this patient, because of
03:44:28 20    the motorcycle accident and the treating physicians,
03:44:30 21    you had to activate the patient to a trauma, sort
03:44:34 22    of, level -- I'm not using the right terms, but I
03:44:37 23    know you used the middle of the three levels for
03:44:39 24    this patient?
03:44:40 25          A.   Yes, sir.


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03:44:40   1         Q.   Okay.
03:44:45   2              All right.     So let's talk about -- I'm
03:44:47   3   going to give the row number, too, now, just to make
03:44:49   4   sure there's no confusion on the record.            But row
03:44:52   5   13, patient J.C.      Do you agree with Dr. Schriger's
03:44:55   6   analysis there?
03:44:56   7         A.   Yes.
03:44:59   8         Q.   Row 14, patient J.E., do you agree with
03:45:02   9   Dr. Schriger's analysis there?
03:45:03 10          A.   I have no opinions.       Out of my scope.
03:45:06 11          Q.   Okay.    Fair enough.
03:45:10 12               Row 15, patient D.J., do you disagree with
03:45:13 13    Dr. Schriger there?
03:45:14 14          A.   Yes.
03:45:14 15          Q.   And why do you disagree with Dr. Schriger?
03:45:16 16          A.   He writes it's "routine repeat chest pain
03:45:19 17    with no complications from an autoimmune disease and
03:45:22 18    no need for extraordinary treatment."           But it looks
03:45:25 19    like there's a consult.
03:45:27 20               If we did not have a STEMI program and a
03:45:29 21    cath lab, then there could not have been a consult.
03:45:31 22    If we had needed a consult in the past, it's just a
03:45:34 23    routine community facility, would have sent that
03:45:37 24    patient someplace else to get that expert opinion.
03:45:56 25          Q.   So what you are referring to is some


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03:45:58   1   hospitals may not have a cardiac cath lab and a
03:46:03   2   STEMI receiving designation and, therefore, the
03:46:07   3   patient wouldn't have had the ability to have a
03:46:10   4   consult immediately with the cardiologist?
03:46:14   5         A.   Yes.
03:46:15   6         Q.   Okay.    Would you expect a hospital like
03:46:19   7   Queen of the Valley Medical Center to have provided
03:46:20   8   those services to the patient that has a STEMI
03:46:25   9   receiving designation and a cardiac cath lab?
03:46:29 10          A.   Yes.
03:46:30 11          Q.   Let's talk about row 16, patient W.P.            Did
03:46:34 12    I skip one?
03:46:35 13          A.   No.
03:46:35 14          Q.   Okay.    Do you agree with Dr. -- you agree
03:46:39 15    or disagree with Dr. Schriger's analysis?
03:46:42 16          A.   Agree.
03:46:48 17          Q.   All right.     Patient -- let's talk about row
03:46:53 18    17, patient B.R.      Do you agree or disagree with
03:46:56 19    Dr. Schriger's analysis?
03:46:57 20          A.   Disagree.
03:46:57 21          Q.   Okay.    And why do you disagree?
03:46:59 22          A.   This is another trauma patient, that what
03:47:09 23    I'm reading here is that this was ordinary
03:47:13 24    orthopedic care.      However, again, this is a
03:47:15 25    motorcycle crash for a patient who activated per


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03:47:23   1   county criteria and hospital criteria, and until
03:47:28   2   otherwise noted, was considered a multisystem trauma
03:47:33   3   patient.
03:47:35   4              The trauma surgeon was called.          Our policy
03:47:39   5   does say that the trauma surgeon does not have to
03:47:42   6   come in and attend the patient, but the orthopedic
03:47:47   7   surgeon was called at 2025 and had orders at 2045.
03:47:51   8   We do require a 30-minute response by orthopedics
03:47:54   9   when requested by the trauma surgeon.           That clearly
03:47:57 10    was taken care of here.
03:47:59 11               And then the patient got a FAST, which is
03:48:01 12    credentialing by the emergency department physician.
03:48:05 13    So again, this patient could have been much more
03:48:08 14    serious and needed much more intensive treatment,
03:48:12 15    and so needed to be at a trauma center.
03:48:15 16          Q.   Okay.    And when you say -- you are talking
03:48:17 17    about this is a situation where the patient might
03:48:19 18    have required something more, but it turned out that
03:48:21 19    he or she didn't?
03:48:23 20          A.   Yes.
03:48:23 21          Q.   Okay.    And then there's a note here about
03:48:27 22    authorized notifications.        Is that the Blue Shield
03:48:30 23    reference you're talking about?
03:48:31 24          A.   Yes, sir.
03:48:31 25          Q.   Okay.    What do you mean by "FAST


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03:48:35   1   credentialing"?
03:48:36   2         A.   FAST is an acronym for focused abdominal
03:48:39   3   sonography for trauma.        It is a procedure that the
03:48:45   4   ED physicians are credentialed to do.           It's not just
03:48:48   5   something that is willy-nillied.          It is
03:48:51   6   credentialing that is a result of us being a trauma
03:48:54   7   center that we credential our ED physicians to do
03:48:57   8   that specifically for trauma.
03:49:02   9         Q.   Okay.    Any other reason why you disagree
03:49:05 10    with Dr. Schriger with respect to patient B.R.?
03:49:09 11          A.   I would say that I also -- since this was
03:49:11 12    an open -- was it an open tib/fib or was it closed?
03:49:16 13    No, it was closed.       So never mind.
03:49:20 14          Q.   How about let's go to row 18, patient B.S.
03:49:23 15    Do you agree or disagree with Dr. Schriger's
03:49:25 16    analysis?
03:49:26 17          A.   Agree.
03:49:26 18          Q.   Okay.    Patient S.H. in row 19.        Do you
03:49:40 19    agree or disagree with Dr. Schriger's analysis?
03:49:43 20          A.   Both.
03:49:44 21          Q.   Okay.    Tell me what you disagree with.
03:49:49 22          A.   That it was the same patient three times.
03:49:53 23          Q.   Okay.
03:50:00 24          A.   It was three different visits but it's the
03:50:01 25    same patient.      In a random sampling, I would not


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03:50:04   1   be -- there's something wrong with your sampling if
03:50:08   2   you've got three of the same patient.           Just my first
03:50:12   3   disagreement.
03:50:16   4         Q.   Well, did -- okay.       So what -- what about
03:50:19   5   with respect to Dr. Schriger's conclusions with
03:50:21   6   respect to the -- you know, each particular patient
03:50:25   7   episode?     Do you have any agreements or
03:50:26   8   disagreements with those?
03:50:27   9         A.   The only disagreement of mine is the CTA
03:50:30 10    chest.     The CTA of the chest is accomplished from
03:50:36 11    us having the higher grade scanner that I don't know
03:50:38 12    that everyone has.
03:50:40 13          Q.    Okay.   So in each of the -- well, in
03:50:42 14    each --
03:50:43 15          A.    Just the two.
03:50:44 16          Q.    In those two, yeah --
03:50:45 17          A.    Correct.
03:50:45 18          Q.   In those two patient encounters in row 19
03:50:49 19    and row 20, there is a diagnostic test done, a CTA
03:50:53 20    chest.     What does "CTA chest" refer to?
03:50:57 21          A.   It's a CT with angiography of the chest.
03:51:02 22          Q.    Well, before you were talking to me
03:51:03 23    about -- or telling me about -- was it 256-slice?
03:51:07 24          A.    Yes.
03:51:07 25          Q.   Is that the CTA chest or is that something


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03:51:10   1   different?
03:51:10   2         A.    We can effect CTAs by having a 256.             And
03:51:15   3   you can do CT angios, which is a CTA, on a bunch of
03:51:20   4   different things.
03:51:21   5         Q.    Okay.    Do -- do -- would you expect Sutter
03:51:26   6   Solano and Kaiser Vallejo to have a CTA capability?
03:51:31   7         A.    I am unclear if they do or do not.
03:51:33   8         Q.    Okay.    You don't know one way or the other?
03:51:36   9         A.     No.
03:51:36 10          Q.    Would you expect the trauma centers --
03:51:40 11    other trauma centers to have a CTA capability?
03:51:44 12          A.     Yes.
03:51:45 13          Q.    So then your minor disagreement with
03:51:46 14    Dr. Schriger on rows 19 and 20 have to do with the
03:51:49 15    CTA chest notation here.         Those may -- in your view,
03:51:52 16    they may not have been available at all facilities?
03:51:54 17          A.     Yes.
03:51:55 18          Q.     Okay.
03:52:05 19                MR. TASSA:     21.
03:52:06 20                MR. MAURER:    Oh -- we may be missing a
03:52:08 21    page.      Are we missing a page?
03:52:10 22                THE WITNESS:    I think so.      I think you're
03:52:12 23    correct.
03:52:13 24                MR. MAURER:    Yeah.
03:52:13 25                MR. TASSA:    Are we missing a page?        Yeah,


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03:52:15   1   we're missing a page.
03:52:16   2   BY MR. MAURER:
03:52:16   3         Q.   We're missing page 22.        Can you tell from
03:52:18   4   your notes with respect to patient M.S., row 22,
03:52:22   5   whether you agreed or disagreed with Dr. Schriger?
03:52:24   6         A.   I agreed.
03:52:25   7         Q.   Okay.
03:52:27   8              All right.     Let's make our way through
03:52:29   9   Exhibit B of Exhibit 25.        All right.     Let's look at
03:52:38 10    row 3, patient M.M.       Do you agree or disagree with
03:52:42 11    Dr. Schriger's analysis?
03:52:43 12          A.   Agree.
03:52:47 13          Q.   Row -- let's look at row 4, patient U.C.
03:52:50 14    Do you agree or disagree with Dr. Schriger's
03:52:53 15    analysis?
03:52:54 16          A.   Yes.
03:52:55 17          Q.   You agree?
03:52:55 18          A.   Yes.
03:52:56 19          Q.   Okay.    Row 5, patient C.H.       Do you agree or
03:53:01 20    disagree with Dr. Schriger's analysis?
03:53:03 21          A.   Agree.
03:53:14 22          Q.   And you made a notation -- so -- well,
03:53:18 23    let's talk about row 6, patient C.H.           I see you made
03:53:23 24    a notation about the same patient.           Do you think
03:53:25 25    possibly it's the same patient as row 5 C.H.?


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03:53:30   1         A.   It is the same patient.
03:53:31   2         Q.   It is the same patient.        Okay.    You had
03:53:33   3   medical records you probably could see.
03:53:35   4              Well, then let's talk about -- so other
03:53:37   5   than that notation, row 6, patient C.H., did you
03:53:42   6   agree or disagree with Dr. Schriger's analysis?
03:53:44   7         A.   Agree.
03:53:44   8         Q.   Okay.    Row 7, patient J.K.       Did you agree
03:53:49   9   or disagree with Dr. Schriger's analysis?
03:53:51 10          A.   I disagreed.
03:53:53 11          Q.   And why did you disagree?
03:53:54 12          A.   Because of the MRI.
03:53:58 13          Q.   Okay.    Is that the only reason you
03:54:01 14    disagreed, because there was an MRI done?
03:54:03 15          A.   Yes.
03:54:03 16          Q.   And then I apologize if we talked about
03:54:06 17    this before.
03:54:07 18               So in your understanding, Sutter Solano,
03:54:11 19    Kaiser Vallejo don't have MRIs?
03:54:14 20          A.   No, that's not what my statement is.
03:54:16 21          Q.   Okay.
03:54:18 22          A.   That they may have MRIs, but as a trauma
03:54:21 23    center, we are required to have 24/7 access to an
03:54:26 24    MRI, which is not common.
03:54:28 25          Q.   And do you have any idea one way or the


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03:54:29   1   other if patients at Kaiser Vallejo or Sutter Solano
03:54:33   2   have 24/7 access to an MRI?
03:54:35   3          A.   I do not.
03:54:35   4          Q.   Okay.    Would you expect patients at other
03:54:41   5   trauma centers -- other trauma centers to have 24/7
03:54:43   6   access to an MRI?
03:54:45   7          A.   Level II and above, yes.
03:54:46   8          Q.   Okay.    But not Level III?
03:54:50   9          A.   Correct.
03:54:50 10           Q.   All right.    So then let's go to row No. 8,
03:54:54 11    patient J.B.        Do you agree or disagree with
03:54:56 12    Dr. Schriger there?
03:54:57 13           A.   Agree.
03:55:02 14           Q.   Row No. 9, patient C.N.       Do you agree or
03:55:05 15    disagree with Dr. Schriger?
03:55:07 16           A.   Agree.
03:55:09 17           Q.   Row 10, patient C.D.      Do you agree or
03:55:12 18    disagree with Dr. Schriger?
03:55:14 19           A.   Disagree.
03:55:15 20           Q.   And why do you disagrees?
03:55:17 21           A.   The MRI and -- because he writes here that
03:55:22 22    "this is a pretty clear case of fortification
03:55:26 23    spectra, the prodrome of a migraine headache.
03:55:31 24    Stroke does not often present with wavy lines in one
03:55:36 25    eye.   This is a routine case that got lots of care."


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03:55:39   1                Because we have the stroke program in
03:55:40   2   place, the staff overtriage in order to make sure
03:55:45   3   that they don't miss something.          So they proceed as
03:55:48   4   if the patient has a serious medical condition until
03:55:52   5   ruled out.      And that requires one-to-one nursing
03:55:54   6   care and Q15 monitoring, so it significantly alters
03:56:01   7   the staffing in my department.
03:56:03   8         Q.     Is that all stroke-related -- stroke
03:56:05   9   program-related staffing?
03:56:06 10            A.   Yes.
03:56:06 11          Q.     Okay.   So other facilities that had similar
03:56:09 12    stroke programs would be able to provide a similar
03:56:11 13    level of care as NorthBay; is that right?
03:56:14 14          A.     I don't know what their nursing strategy
03:56:16 15    is.
03:56:17 16            Q.   Okay.
03:56:17 17          A.     If it's one-to-one care or not, but I know
03:56:20 18    at NorthBay it is one-to-one care for the stroke
03:56:22 19    rule-outs.
03:56:24 20          Q.     Okay.   Anything else that you disagree with
03:56:27 21    with Dr. Schriger in that -- on patient C.D. in row
03:56:31 22    10?
03:56:32 23          A.     The MRI.   We got an MRI expeditiously.        And
03:56:35 24    were able to come up with the diagnosis that he has
03:56:40 25    here.    So without the MRI, perhaps the patient would


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03:56:42   1   have stayed longer.
03:56:45   2         Q.    Okay.    Is that speculation on your part?
03:56:47   3         A.     Yes.
03:56:47   4         Q.    Okay.    Let's look at row -- well, anything
03:56:51   5   else?      Any other disagreements?
03:56:53   6         A.    No, sir.
03:56:55   7         Q.    Row 11, patient C.T.      Do you agree or
03:57:00   8   disagree with Dr. Schriger?
03:57:01   9         A.    Agree.
03:57:06 10          Q.    Row 12, patient J.P.      Do you agree or
03:57:09 11    disagree with Dr. Schriger?
03:57:10 12          A.    Disagree.
03:57:11 13          Q.    And why do you disagree?
03:57:13 14          A.    The MR angiogram is something that is not
03:57:17 15    routinely available at all hospitals, routinely just
03:57:24 16    on-demand available.       You know, his blood pressure
03:57:30 17    required active management, but this is not uncommon
03:57:32 18    for someone with an intracranial bleed.
03:57:36 19                You know, intracranial bleeds are not
03:57:40 20    common at community hospitals to handle and to
03:57:43 21    manage.     Yeah.    This is -- this is a pretty high
03:57:50 22    acuity patient, in my opinion, and lots of staff
03:57:54 23    training were in this code stroke.           But it was just
03:58:02 24    odd that the patient had a brain bleed and had a
03:58:05 25    normal sensorium, but we have a neurosurgeon sitting


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03:58:08   1   around to evaluate that.
03:58:13   2         Q.   Anything else that you disagree with?
03:58:15   3         A.   No.
03:58:18   4         Q.   Well, I know you also mention -- there's
03:58:21   5   MRI note there, so the same criticism that you've
03:58:24   6   expressed before with respect to MRIs?
03:58:26   7         A.   Well, MRI and MR angio --
03:58:28   8         Q.   Right, which we --
03:58:29   9         A.   -- are in the same family.
03:58:30 10          Q.   Okay.
03:58:31 11          A.   So an MRI is magnetic resonance imaging,
03:58:34 12    and MR is magnetic resonance angiogram.            So it's
03:58:39 13    shooting dye while they're shooting the pictures.
03:58:41 14    Normally --
03:58:42 15          Q.   Same machine --
03:58:42 16          A.   Yes.
03:58:42 17          Q.   -- but just using dye?
03:58:45 18          A.   Correct.
03:58:45 19          Q.   Okay.    Okay.   And then you had some notes
03:58:50 20    in the right-hand column here that you crossed out.
03:58:53 21    Do you know why that was?        Looks like one of them --
03:58:57 22    oh, okay.
03:58:58 23          A.   It may have been that I was looking at a
03:58:59 24    different patient, honestly.
03:59:01 25          Q.   Okay.


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03:59:02   1         A.   You know, with the pages, I might have
03:59:03   2   gotten it -- so I scratched it out.
03:59:05   3         Q.   Okay.
03:59:06   4              Let's talk about row 13, patient P.W.            Do
03:59:11   5   you agree or disagree with Dr. Schriger?
03:59:13   6         A.   Agree.
03:59:13   7         Q.   Row 14, patient S.H.       Do you agree or
03:59:17   8   disagree with Dr. Schriger?
03:59:18   9         A.   Agree.
03:59:22 10          Q.   Row 15, patient L.S.       Do you agree or
03:59:25 11    disagree with Dr. Schriger?
03:59:27 12          A.   Yes and no.     I noted the CTA chest, but in
03:59:31 13    general, agreed.
03:59:32 14          Q.   Okay.    And then patient -- and then it's
03:59:37 15    the same issue with the CTA chest as you testified
03:59:40 16    with respect to another case, right?
03:59:41 17          A.   Yes.
03:59:42 18          Q.   Okay.    Row 16, patient L.L.       Do you agree
03:59:48 19    or disagree with Dr. Schriger?
03:59:51 20          A.   The -- disagree because they did an MRCP,
03:59:54 21    so the same machine, the magnetic resonance -- I'm
03:59:58 22    not going to try to pronounce that word.
04:00:01 23    Cholangiopancreatography.
04:00:05 24               So that requires the MRI machine.
04:00:11 25          Q.   And is that the only criticism you had was


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04:00:13   1   the use of the MRI machine?
04:00:15   2         A.   Yes.
04:00:16   3         Q.   No other disagreements with Dr. Schriger on
04:00:18   4   that one?
04:00:18   5         A.   No, sir.
04:00:19   6         Q.   Okay.    Row 17, patient A.C.       Agree or
04:00:24   7   disagree with Dr. Schriger?
04:00:26   8         A.   Agree.
04:00:28   9         Q.   Sort of feel like a game show host here.
04:00:32 10    Agree or disagree.
04:00:35 11               Row 18, patient B.R.       Agree or disagree
04:00:38 12    with Dr. Schriger?
04:00:39 13          A.   Disagree.     I put "same case" as in the
04:00:41 14    first report.      This is the same patient that was
04:00:44 15    B.R. in the previous exhibit.
04:00:48 16               MR. TASSA:     Both parties chose the same
04:00:49 17    case.
04:00:50 18    BY MR. MAURER:
04:00:51 19          Q.   So you've already expressed your opinions
04:00:52 20    on that one, so I'll move on to the next one.
04:00:55 21               Patient 19 -- sorry, row 19, patient S.L.
04:00:58 22    Do you agree or disagree with Dr. Schriger?
04:01:01 23          A.   Disagree strongly.
04:01:03 24          Q.   And why do you disagree?
04:01:04 25          A.   This was a full trauma team activation, so


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04:01:06   1   required all those services that we have to bear.
04:01:10   2   And it said -- even himself when he says, "This is a
04:01:14   3   moderately injured trauma patient who, fortunately,
04:01:17   4   did not require heroics," meaning he could have
04:01:21   5   required heroics, and I needed the full complement
04:01:26   6   of services in order -- sounds like he could have
04:01:28   7   used quite a bit.       He was here for five days, and
04:01:32   8   that's a pretty decent length of stay for a trauma
04:01:35   9   patient.
04:01:40 10          Q.   Any other reason why you disagree with
04:01:42 11    Dr. Schriger?
04:01:42 12          A.   No.     And then the ENT consultant, if we
04:01:45 13    didn't have a trauma center, then we would not have
04:01:47 14    robust ENT coverage.       But because of trauma, he was
04:01:51 15    able to get that service.
04:01:53 16          Q.   Is there any reason that you think this
04:01:55 17    particular patient could not have been treated
04:01:56 18    appropriately at another trauma center?
04:02:00 19          A.   At another trauma center?
04:02:01 20          Q.   Yeah.
04:02:03 21          A.   Prob- -- maybe not at a Level III.           But a
04:02:06 22    Level II, I would expect the same level of service.
04:02:08 23          Q.   Okay.     Any other disagreements you haven't
04:02:11 24    told me about with respect to row 19, patient S.L.?
04:02:15 25          A.   No, sir.


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                     Exhibit I
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Sarah Jewel                                                                                         DE TA I L S
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P RO FI L E
A seasoned health care marketer with more than 30 years in the field. As the Director of
Business Development for NorthBay Healthcare, I lead service development, brand
manaagment and marketing for a 100+ provider medical group, two hospitals and a medical
fitness center.



E M P L O Y M E NT H I S TO RY

Director of Business Development, NorthBay Healthcare
Jul 1990 – Present, Fairfield, CA

     Responsible for business growth; utilizes data to assess market, successfully launch new
     products and services
     Creates business plans and translates business goals into successful marketing strategies
     Plans and executes comprehensive marketing campaigns and manages a creative team of
     designers, writers, digital media specialists, videographers, and events experts
      Reports metrics and outcomes of marketing efforts
      Knowledgeable about CRM, innovations in digital marketing and social media
      A skilled and experienced healthcare business strategist who collaborates with operational
     leaders, physicians , and finance to promote the NorthBay brand and grow services.

Marketing Representative, NorthBay Healthcare
Jul 1984 – Jul 1990, Fairfield, Ca

     Collaborated with clinical operations to design new services
     Performed market research
     Conducted feasibility studies for new services, created business and marketing plans for the
     hospitals and key services

Marketing and Sales Representative, The George Washington
University Health Plan
1978 – 1980, Washington, D.C.

     Sold this group model HMO to local employers and their employees
     Prepared collateral and participated in promotional strategy and advertising development
     Served as member advocate



E DUCA TI O N

University of California, Berkeley, Masters Public Health,
Administration
Sep 1980 – Jun 1982, Berkeley

University of California, Santa Barbara, BA, Biology
Jun 1977, Santa Barbara
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A W A RDS

Aster Awards for Excellence in Medical Marketing
2011     Judge's Choice       Women's Health
2015     Bronze              Obstetrics
2016     Silver              Joint Replacement
2017     Bronze              HealthSpring Fitness
2018     Gold                Pediatrics -- Immunizations
2018     Bronze              Open Enrollment



P RO FE S S I O NA L M E M B E RS H I P S

Society for Healthcare Strategy and Market Development
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                     Exhibit J
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                                                                       Page 188
 1   points as opposed to 10 or 20?
 2       A       Well, first of all, I'm aware of a
 3   distribution, a range, which I've talked about.            I
 4   looked -- I was particularly interested in the Sutter
 5   arrangement, which is a kind of a classic emergency                   03:20
 6   only, and there the parties agreed on a 15 percentage
 7   point discount for emergency only services at
 8   NorthBay.
 9               Sutter uses primarily for its elective
10   services its hospitals, so it's very much like any                    03:20
11   other out-of-network provider.        So the parties there
12   agreed on 15.
13             15 is about in the middle of the pack for
14   what I see in --
15             MR. TOOCH:    Let him finish.                               03:20
16   BY MR. PIMSTONE:
17      Q      Go ahead.
18      A      -- about in the middle of the pack for what I
19   see for arrangements that are emergency dominant or
20   otherwise little or low steered volume.                               03:21
21             Which tells me that the residual amount, the
22   discount that is granted is what the parties think is
23   the value, the net value to the hospital of the piece
24   of paper.
25      Q      In those other contracts, what you've just                  03:21


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                                                                       Page 191
 1       A     Yeah.    It's another example that's covered by
 2   a protective order but is available to us here.
 3       Q     In the scores of contracts that you've looked
 4   at, I take it that you did not produce any of those
 5   contracts in support of your opinion or as backup for                 03:24
 6   your opinion on the 15 percent?
 7       A     I did not, and that was for two reasons.
 8   One, we do have the Sutter arrangement to look at, and
 9   we also have these contracts on page 25 which point to
10   the same number.                                                      03:25
11             You'll notice the average there is 81.           So
12   the differential there, the Type 1 benefits are 19
13   percentage points.     So I've got 19 --
14      Q      I'm sorry, can you tell me where the 19 comes
15   from?                                                                 03:25
16      A      The difference between 81 and 100.          So we
17   have 19 percentage points here from an average.            Then
18   we have the Sutter arrangement at 15.          And then we
19   have my best recollection of a middle of the road
20   where the range was between 40 and 5.                                 03:25
21      Q      When you say your best recollection, these
22   are from other contracts you've looked at over the
23   course of your career?
24      A      Yeah.   In the footnote I've said I've
25   reviewed network contracts and/or emergency only                      03:26


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 1   contracts as a part of 16 management consulting
 2   engagements for business planning, 14 litigation
 3   cases, and two executive management assignments.
 4       Q      And if I wanted to test what those contracts
 5   had to see whether your analysis is correct, how do I                 03:26
 6   do that?
 7       A      You ask me to testify truthfully.
 8       Q      But in terms of actually looking at those
 9   contracts and looking at the data, I take it that
10   that's not information that you're willing to produce                 03:26
11   as backup to your opinion?
12      A       That's correct.     And I -- the reason I think
13   one should be comfortable with that is that, A, these
14   are covered by confidentiality agreements; B, it
15   matches up quite closely to the Sutter arrangement and                03:27
16   closely and conservatively to page 25.
17              So I'm not asking you to completely trust me
18   as if I made this number up without there being
19   corroboration here.
20      Q       In the 16 management and consulting                        03:27
21   arrangements and the 14 litigation cases, I take it
22   you're talking about hospitals located all over
23   California?
24      A       And the United States.
25      Q       And the United States.      So these could be              03:27


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